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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC                     §
                                               §
                                                           Case No. 2:15-cv-998-JRG-RSP
                                               §
                                                                    LEAD CASE
        v.                                     §
                                               §
                                               §
 NVIDIA CORPORATION, et al.

              JOINT MOTION TO ENTER AGREED DISCOVERY ORDER

        Pursuant to the September 30, 2015 Scheduling Conference Order (Dkt. No. 20), in the

 above captioned Lead Case, Plaintiff Display Technologies, LLC and Defendant Samsung

 Electronics America, Inc., Sony Computer Entertainment America LLC, and Valve Corporation,

 have met and conferred and hereby request that the Court enter the attached Proposed Agreed

 Discovery Order.

        DATED October 14, 2015.                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of October, 2015, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas,
 Marshall Division, using the electronic case filing system of the court. The electronic case filing
 system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in
 writing to accept this Notice as service of this document by electronic means.

                                              /s/ Stevenson Moore
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